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 9
10
11
                                   UNITED STATES DISTRICT COURT
12
                                  NORTHERN DISTRICT OF CALIFORNIA
13
14 DAVID SUSKI, JAIMEE MARTIN, JONAS
15 CALSBEEK, and THOMAS MAHER,                    Case No. 3:21-cv-04539-SK
   Individually and On Behalf of All Others
16 Similarly Situated,
                                                  PLAINTIFFS’ MEMORANDUM OF LAW IN
17                        Plaintiffs,             OPPOSITION TO COINBASE, INC.’S
                                                  RENEWED MOTION TO COMPEL
18         vs.                                    ARBITRATION AND TO DISMISS
19                                                Hearing:     August 22, 2022
   COINBASE, INC. and
                                                  Time:        9:30 a.m.
20 MARDEN-KANE, INC.,                             Courtroom:   C
21
                          Defendants.
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 1          Plaintiffs David Suski, Jaimee Martin, Jonas Calsbeek, and Thomas Maher submit this

 2   Memorandum of Law in Opposition to Defendant Coinbase, Inc.’s (“Coinbase”) Motion to Compel

 3   Arbitration or to Dismiss Plaintiffs’ Third Amended Class Action Complaint (Dkt. 88) (“Motion”).

 4   I.     SUMMARY OF ARGUMENT

 5          Coinbase previously moved to compel arbitration, or to dismiss all of Plaintiffs’ claims under

 6   Rule 12(b)(6). See generally Dkt. 33 (Coinbase’s prior motion to compel or dismiss); Dkt. 43

 7   (Coinbase’s prior reply brief in support thereof)). The Court denied Coinbase’s prior motion to

 8   compel arbitration. See generally Order (Dkt. 53). The Court also denied Coinbase’s prior Rule

 9   12(b)(6) motion to dismiss all claims, except for Plaintiffs’ claims that the Dogecoin “Sweepstakes”

10   was a lottery. Id. The Court granted Plaintiffs leave to amend the lottery claims, which they have

11   done by filing their Third Amended Class Action Complaint (Dkt. 83) (“TAC”).

12          Coinbase now seeks to use the TAC’s amended lottery allegations as an opportunity to seek

13   reconsideration of the Court’s prior Order. The Court should deny Coinbase’s renewed Motion

14   because it cites no new facts, and no change in law, that would justify reconsideration of the Court’s

15   prior Order. Moreover, to the extent Coinbase raises new merits defenses that could have been

16   raised in its earlier Rule 12(b)(6) motion, this offends Rule 12(g)(2). In sum, Coinbase’s Motion is

17   procedurally defective, because it is primarily an unjustified attack on the Court’s prior Order.

18          In addition, Coinbase’s renewed Motion is substantively flawed. It argues that the Official

19   Rules agreements cannot conflict with or supersede the User Agreements, because Defendant

20   Marden-Kane, Inc. (“Marden-Kane”) was a party to the Official Rules agreements but not the User

21   Agreements. That preexisting fact, however, is entirely inconsequential. The fact of consequence is

22   that both Coinbase and Plaintiffs were subject to both agreements, and the two agreements’ terms

23   conflict. This conflict forced the Court to choose which agreement would govern Plaintiffs’ claims,

24   and this Court chose correctly under Ninth Circuit precedent. See Order (Dkt. 53) at 1-10.

25          Coinbase now attempts to argue, under Mohamed v. Uber Techs., Inc., 848 F.3d 1201 (9th

26   Cir. 2016), that the contractual conflicts previously identified by the Court are “artificial” conflicts.

27   This ultimately amounts to an argument that the Official Rules agreements do not mean what they

28   say. To be sure, Mohamed did hold that an isolated contractual term did not mean what it said, but
                                                        1
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 1   Mohamed held that in a very different contractual context that is wholly inapposite here. There is a

 2   reason why Coinbase did not rely on Mohamed in its previous motion to compel arbitration (Dkt.

 3   33), outside of one stray quote in its reply brief. Dkt. 43 at 6. The reason is that Goldman, Sachs &

 4   Co. v. City of Reno, 747 F.3d 733 (9th Cir. 2014), not Mohammed, is controlling of cases like this

 5   one, involving multiple contracts formed at different times among different sets of contracting

 6   parties. Coinbase’s renewed Motion continues to ignore Goldman and other authorities previously

 7   relied upon by this Court, and the Motion should be denied as a result.

 8          Recognizing that arbitration is not an option here, Coinbase now seeks to enforce the Official

 9   Rules’ standalone class litigation waiver, which Coinbase previously conceded to be unconscionable

10   under California law. Dkt. 40 at n.7.    Coinbase’s new argument for enforcing the Official Rules’

11   class litigation waiver is meritless. Defendants’ standalone, class-action litigation waiver is exactly

12   the type that has repeatedly been held unconscionable by California’s Supreme Court. The U.S.

13   Supreme Court later deemed California unconscionability law preempted by the Federal Arbitration

14   Act (“FAA”), but only as applied to class arbitration waivers.            The FAA, decidedly, has no

15   preemptive power in the absence of an agreement to arbitrate Plaintiffs’ claims. See Chamber of

16   Commerce of U.S. v. Bonta, 13 F.4th 766, 780 (9th Cir. 2021) (“Does the text of the FAA or the

17   precedent interpreting it expand the preemptive scope of the statute to situations in which there is no

18   agreement to arbitrate at issue? [T]he answer to that question is ‘no.’”). Coinbase’s class-action

19   litigation waiver is plainly unconscionable and unenforceable under longstanding California law, and

20   California law is not even arguably preempted by the FAA in this case because—as the Court has

21   held—the parties here have not agreed to arbitrate their controversies. Dkt. 53 at 1-10.

22          Coinbase seeks to further attack Plaintiffs’ anti-class-waiver rights by attacking their CLRA

23   claims. The CLRA expressly precludes consumers from waiving the right to initiate a class action.

24   Cal. Civ. Code §§ 1751-1752, 1781. It follows that if Coinbase wants to eliminate all absent Class

25   members from this case—and it does—then it must eliminate Plaintiffs’ CLRA claims.                  To

26   accomplish this, Coinbase argues, for the first time, that consumer “transactions” involving

27   cryptocurrencies are outside the scope of the CLRA. Coinbase could have made this argument in its

28   prior Rule 12(b)(6) motion, but failed to do so. See Dkt. 33; Dkt. 43. The argument is therefore
                                                       2
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 1   barred by Rule 12(g)(2).         Moreover, Coinbase’s procedurally improper CLRA argument is

 2   substantively wrong. Coinbase is unambiguously selling a “service” under the CLRA, by matching

 3   cryptocurrency buyers with cryptocurrency sellers and executing their trades for them in exchange

 4   for discrete fees. Coinbase’s new CLRA argument seeks to immunize all cryptocurrency exchanges

 5   from CLRA liability in every circumstance, but there is no basis in law for this.

 6             Finally, both Defendants challenge the TAC’s amended lottery allegations by asserting that

 7   Coinbase users, in fact, could have enter the Dogecoin Sweepstakes for free. The problem with

 8   Defendants’ assertion is: is there is no objective basis for this Court to find such a fact. As the TAC

 9   alleges, Defendants’ “Sweepstakes” solicitations and Official Rules objectively provided only that

10   Coinbase users “need[ed] to”— that they “must”—trade Dogecoins and pay transaction fees to

11   obtain entry. TAC, ¶¶28-42, 60-74, 101-110; see also Official Rules (Dkt. 83-1), ¶3. Solely because

12   Defendants’ Sweepstakes solicitations and Official entry Rules objectively provided only that

13   consideration was necessary for them to enter, Plaintiffs paid consideration to enter. That constitutes

14   a lottery, and Defendants intentionally made it a lottery, to create massive “liquidity” for themselves

15   at many consumers’ expenses. TAC, ¶¶6, 16, 50. This was criminal, and Defendants are civilly

16   liable. Cal. Penal Code §§ 319, 320.

17             For each of the above reasons, and as further detailed both herein and in Plaintiffs’

18   Opposition to Marden-Kane’s Motion to compel or dismiss, Coinbase’s (renewed) Motion to compel

19   arbitration or to dismiss should be denied.

20   II.       SUMMARY OF FACTS

21             Coinbase is one of the largest online cryptocurrency exchanges in the world. ¶1. 1 Plaintiffs

22   are consumers who created online cryptocurrency trading accounts with Coinbase, months or years

23   before June 2021. When Plaintiffs first signed up for their Coinbase accounts, Coinbase required

24   them to agree to various iterations of Coinbase’s “User Agreements.” See Dkt. 33-1. The User

25   Agreements contained mandatory arbitration agreements, including agreements delegating certain

26   “arbitrability” disputes to an arbitrator. See Dkt. 33-7; Dkt. 33-8; Dkt. 33-9; Dkt. 33-10.

27
28   1
         References to ¶_ or ¶¶___ are to Plaintiffs’ TAC, unless otherwise indicated.
                                                         3
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 1             In June 2021, Coinbase added a new cryptocurrency, called “Dogecoin” (or “DOGE”), to the

 2   list of tradable cryptocurrencies on its exchange. ¶¶3-5. Coinbase opened for DOGE trading on June

 3   3, 2021. ¶¶6-7. The same day, Coinbase launched a new “Sweepstakes” promotion. Id. Defendant

 4   Coinbase retained Defendant Marden-Kane to serve as its third-party Sweepstakes administrator. Id.

 5             On June 3, 2021, Coinbase directly emailed and otherwise solicited Plaintiffs, and millions of

 6   other Coinbase users, to enter the Dogecoin Sweepstakes. Id. Coinbase’s mass emailing and digital

 7   advertising displayed large, colorful graphics and language stating:

 8             Trade DOGE. Win DOGE. Starting today, you can trade, send, and receive Dogecoin
               on Coinbase.com and with the Coinbase Android and iOS apps. To celebrate, we’re
 9             giving away $1.2 million in Dogecoin. Opt in and then buy or sell $100 in DOGE on
               Coinbase by 6/10/2021 for your chance to win. Terms and conditions apply.
10
     ¶¶8-9.2 Below that text was a link to the Sweepstakes’ Official Rules, as well as a larger and bolder
11
     action button stating, “See how to enter.” Id.      Upon clicking “See how to enter,” Plaintiffs were
12
     taken to an “Opt-in” page. ¶¶28-39. The Opt in page similarly stated:
13
               Trade DOGE. Win DOGE. Dogecoin is now on Coinbase, and we’re giving away
14             $1.2 million in prizes to celebrate. Opt in and then buy or sell $100 in DOGE on
               Coinbase by 6/10/2021 for your chance to win.
15
     ¶¶10-11. Upon clicking the “Opt in” button, the “Opt in” page changed slightly, and stated:
16
               You’re one step closer to winning. You’ve successfully opted in to our Dogecoin
17             Sweepstakes. Remember, you’ll still need to buy or sell $100 in Dogecoin on Coinbase
               by 6/10/2021 for a chance to win.
18
     Id.    Plaintiffs relied on Defendants’ statement that they would “need to” trade Dogecoins on
19
     Coinbase, and pay Coinbase’s associated transaction fees, “for a chance to win.” ¶¶27-42. Each
20
     Plaintiff thus spent between $100 and $220 buying Dogecoins on Coinbase, and paying Coinbase’s
21
     associated transaction fees, to earn a chance to win. Id.
22
               As an express condition of entry, Defendants required Plaintiffs and each Class member to
23
     agree and adhere to the terms and conditions provided in Defendants’ “Official Rules” for the
24
     Dogecoin Sweepstakes. See Official Rules (Dkt. 83-1). The Official Rules provided that any legal
25
     resident of the continental United States, who was at least 18 years old, was eligible to enter the
26
     Sweepstakes. Id. The Official Rules agreement further provided the following entry rules.
27
28   2
         All emphasis in quotations contained herein is added unless otherwise stated.
                                                         4
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 1          3.      How to Enter:

 2          Two methods of entry:

 3          Method 1: Existing account holders and new* account holders must opt-in to participate in
            the Sweepstakes and must complete $100usd (cumulative the transaction fee)) in trade
 4          (buy/sell) of Dogecoin on Coinbase.com (.com and/or Coinbase app) during the Promotion
            Period to earn one (1) entry into the Sweepstakes.
 5
            [omitted text that is irrelevant to the Motion]
 6
            Method 2: To enter via email, hand write the following on the front of a 3x5 card, your name,
 7          address, city, state, zip, e-mail address, telephone number and date of birth. Insert single card
            in an envelope and mail with sufficient postage to: Coinbase Dogecoin Sweepstakes, PO Box
 8          738, Syosset, NY 11791-0738 — return address and mailing address on envelope must be
            handwritten.
 9
            [omitted text that is irrelevant to the Motion]
10
            Participants must comply with these Official Rules and the Conditions of Entry.
11          Determination of compliance will be in the sole discretion of the Sponsor/Administrator [i.e.,
            Coinbase and Marden-Kane].
12
13   Official Rules (Dkt. 83-1) at 3-5, ¶3. As the Court previously recognized, these Official entry

14   Rules—like Defendants’ Sweepstakes ads—made it objectively apparent that Coinbase “account

15   holders” had to trade to enter, even as non-“account holders” were free to enter by mail.

16          [THE COURT:] I’m looking at the [Official Rules] in front of me. It makes it look
            like if you are an existing accountholder or a new accountholder, you have to
17          complete the $100 transaction. If you’re not an existing account holder or a new
            accountholder, you can enter for free. That’s what Mr. Harris’ argument is, which he
18          wants to have leave to amend so he can make the argument. In other words, it’s not
            only misleading; it could be objectively read to mean that if you actually currently are
19          a Coinbase accountholder, you must have this $100 transaction. Everybody else can
            just mail in this little card.
20                                                ***
21          I have to say it is confusing; I mean, if I were entering this contest, I would be
            confused by this.
22
     Jan. 10, 2022 Hearing Transcript (Dkt. 62) at 27:15 - 28:9.
23
            Indeed, to objectively interpret “Method 2” as being available to “[e]xisting account holders”
24
     like Plaintiffs would be to interpret the first sentence of “Method 1” as objectively false. Thus, at the
25
     time of the Sweepstakes, the best, objective reading of the Official Rules was that Coinbase users
26
     were in fact required to trade DOGE and pay “the transaction fee” to “earn one (1) entry into the
27
     Sweepstakes.” Official Rules (Dkt. 83-1) at 3-5, ¶3. This objective interpretation is especially
28
                                                        5
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 1   salient, in light of the Sweepstakes solicitations’ overt statement regarding payment for entry:

 2   “Remember, you’ll still need to buy or sell $100 in Dogecoin on Coinbase by 6/10/2021 for a chance

 3   to win.” TAC, ¶11. The solicitations were fully and objectively consistent with the Official Rules, as

 4   both objectively demanded payments from Coinbase “account holders”: in exchange for their entries.

 5            Each Plaintiff traded Dogecoins on Coinbase, as objectively required by Defendants, and paid

 6   all associated transaction fees, to obtain their chances to win Sweepstakes prizes. ¶¶27-42. If

 7   Defendants had not affirmatively and objectively made Plaintiffs’ entries contingent upon their

 8   trades, then Plaintiffs would not have traded DOGE on Coinbase as instructed, or paid the associated

 9   transaction fees. Id. From Plaintiffs’ perspective, they each paid for their chances to win only

10   because that was what Defendants objectively required of them in writing. Id.

11            Importantly, unlike Coinbase’s original User Agreements with Plaintiffs, Defendants’

12   adhesive, Official Rules agreements for this Sweepstakes contained no arbitration provisions. Quite

13   the opposite, they provided as follows.

14            Disputes: All federal, state and local laws and regulations apply. THE CALIFORNIA
              COURTS (STATE AND FEDERAL) SHALL HAVE SOLE JURISDICTION OF
15            ANY CONTROVERSIES REGARDING THE PROMOTION[ 3] AND THE LAWS
              OF THE STATE OF CALIFORNIA SHALL GOVERN THE PROMOTION. EACH
16            ENTRANT WAIVES ANY AND ALL OBJECTIONS TO JURISDICTION AND
              VENUE IN THOSE COURTS FOR ANY REASON AND HEREBY SUBMITS TO
17            THE JURISDICTION OF THOSE COURTS. Claims may not be resolved through
              any form of class action. [***irrelevant text omitted***] By entering and
18            participating in the Promotion, Entrants hereby expressly agree and accept that for all
              that is related to the interpretation, performance, and enforcement of these Official
19            Rules, each of them expressly submit themselves to the laws of the United States of
              America and the State of California, expressly waiving to any other jurisdiction that
20            could correspond to them by virtue of their present or future domicile or by virtue of
              any other cause.
21
     Official Rules (Dkt. 83-1), ¶10 (original emphasis).
22
              The Official Rules affirmatively conditioned Plaintiffs’ and the Class’s entries and potential
23
     prizes upon their compliance with ¶10’s dispute resolution terms. See id., ¶9 (“[Coinbase] reserves
24
     the right to prohibit the participation of an individual . . . if the participant fails to comply . . . with
25
     any provision in these Official Rules.”); id., ¶1 (“Winning a prize is contingent upon fulfilling all
26
     requirements set forth herein.”). Thus, if Plaintiffs had filed suit outside of California, or filed an
27
28   3
         The word “PROMOTION” here refers to the DOGE Sweepstakes. Official Rules (Dkt. 83-1), ¶1.
                                                         6
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 1   arbitration demand with the AAA to resolve their Sweepstakes-related claims, then they would have

 2   violated ¶10’s mandatory, exclusive jurisdiction clause and faced disqualification from the

 3   Sweepstakes. Id.

 4          Hence, when Plaintiff Suski learned that he was deceived into paying for his entry into an

 5   unlawful “Sweepstakes,” he complied with Official Rules ¶10 by invoking this Court’s exclusive

 6   “JURISDICTION” to resolve his Sweepstakes-related “CONTROVERSIES.” Dkt. 1; Dkt. 22; Dkt.

 7   36; Dkt. 83. In response, Coinbase again seeks to disavow the parties’ express litigation agreement,

 8   which Coinbase itself drafted and insisted upon as a condition of conducting the Sweepstakes. Not

 9   one statute or judicial decision supports Coinbase’s latest attempt to evade its own adhesive contracts.

10   III.   RELEVANT PROCEDURAL HISTORY

11          On June 11, 2021, with the Sweepstakes still pending, Plaintiff Suski filed an initial Class

12   Action Complaint, asserting claims against Coinbase Global, Inc. and Marden-Kane for violations of

13   California’s False Advertising Law (“FAL”) and Unfair Competition Law (“UCL”). Dkt. 1.

14          On August 31, 2021, Plaintiffs Jaimee Martin, Jonas Calsbeek, and Thomas Maher joined

15   Plaintiff Suski in filing a First Amended Class Action Complaint. Dkt. 22 (“FAC”). The FAC

16   included additional factual details, and claims for equitable relief under California’s Consumer Legal

17   Remedies Act (“CLRA”), as well as additional claims that Coinbase Global, Inc. and Marden-Kane

18   conducted an unlawful lottery, or in the alternative, violated California’s sweepstakes statutes. Id.

19          On October 19, 2021, Coinbase filed a motion to compel arbitration or to dismiss Plaintiffs’

20   claims under Rule 12(b)(6). Dkt. 33. By stipulation of the parties, this motion applied equally to

21   both Plaintiffs’ FAC and Plaintiffs’ Second Amended Class Action Complaint (Dkt. 36) (“SAC”),

22   which amended the FAC only to: (1) replace Coinbase Global, Inc. with Coinbase, Inc. as a

23   Defendant; and (2) allege Plaintiffs’ compliance with the CLRA’s notice provisions. Dkt. 35.

24          On October 20, 2021, Plaintiffs filed the SAC. Dkt. 36.

25          On January 10, 2022, this Court held oral argument on Coinbase’s motion to compel

26   arbitration, or to dismiss Plaintiffs’ SAC under Rule 12(b)(6). Dkt. 62 (Hearing Transcript).

27          On January 11, 2022, the Court denied Coinbase’s motion to compel arbitration, granted

28   Coinbase’s Rule 12(b)(6) motion to dismiss Plaintiffs’ lottery-based claims, and denied Coinbase’s
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 1   Rule 12(b)(6) motion to dismiss with respect to all other claims. Dkt. 53. The Court granted

 2   Plaintiffs leave to amend their lottery-based claims. Id.

 3          On February 9, 2022, Coinbase filed its notice of interlocutory appeal regarding this Court’s

 4   order declining to compel arbitration. Dkt. 58. The same day, Coinbase filed a motion to stay this

 5   case pending the outcome of the interlocutory appeal. Dkt. 59.

 6          On April 19, 2022, the Court denied Coinbase’s motion to stay, finding that “Coinbase

 7   fail[ed] to show how the Court erred,” and “find[ing] that Coinbase fail[ed] to show there is a

 8   reasonable probability that the Ninth Circuit will disagree with the Court.” Dkt. 76 at 2.

 9          On May 10, 2022, Plaintiffs filed the TAC, which amended their lottery allegations, and

10   additionally, relied upon Judge Alsup’s recent decision in Bielski v. Coinbase, Inc., No. C 21-07478,

11   2022 WL 1062049 (N.D. Cal. Apr. 8, 2022) to allege that the arbitration and delegation provisions in

12   Coinbase’s User Agreements were facially unconscionable and unenforceable when made. ¶93.

13          On May 11, 2022, Coinbase filed its opening appellate brief on the merits in the Ninth Circuit.

14          On May 16, 2022, Coinbase filed a motion to stay in the Ninth Circuit, consisting primarily of

15   a merits argument for why Coinbase believes this Court erred in declining to compel arbitration.

16          On May 27, 2022, the Ninth Circuit summarily denied Coinbase’s motion to stay.

17          On June 9, 2022, Marden-Kane filed its own motion to compel arbitration or to dismiss

18   Plaintiffs’ TAC. Dkt. 87. Coinbase has now joined in Marden-Kane’s motion, while also filing its

19   instant Motion (Dkt. 88) to compel arbitration or to dismiss Plaintiffs’ TAC.

20   IV.    ARGUMENT

21          A. The Court should reject Coinbase’s newly formulated arguments for compelling
               arbitration.
22
            “The FAA reflects the fundamental principle that arbitration is a matter of contract.” Rent-A-
23
     Center, West, Inc. v. Jackson, 561 U.S. 63, 67 (2010). It merely “places arbitration agreements on an
24
     equal footing with other contracts.” Id. Consequently, “a party cannot be required to submit to
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     arbitration any dispute which he has not agreed to so submit.” Howsam v. Dean Witter Reynolds,
26
     Inc., 537 U.S. 79, 83 (2002); see also Granite Rock Co. v. Int’l Brotherhood of Teamsters, 561 U.S.
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     287, 302-03 (2010) (“[T]he FAA’s proarbitration policy does not operate without regard to the
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 1   wishes of the contracting parties.”). Sometimes, it is unclear whether contracting parties intended to

 2   submit a particular dispute to arbitration. Courts have settled rules for discerning the parties’ intent,

 3   if their intent is unclear from the plain text of their contract (or contracts).

 4           Under the FAA, ambiguities concerning the scope of an arbitration clause, as applied to a

 5   particular dispute, create a rebuttable presumption in favor of arbitration. Goldman, Sachs & Co. v.

 6   City of Reno, 747 F.3d 733, 742-43 (9th Cir. 2014). In other words, ambiguities in arbitration

 7   clauses themselves give rise to a rebuttable presumption in favor of arbitration. Id. Importantly,

 8   however, ambiguities concerning the existence of an agreement to arbitrate a dispute create no

 9   presumption. Id. Instead, ambiguities concerning the existence of an agreement to arbitrate must be

10   resolved by ordinary rules of contract interpretation. Id. (citing Applied Energetics, Inc. v. NewOak

11   Capital Markets, LLC, 645 F.3d 522 (2d. Cir. 2011)). Where—as here—the interpretive question

12   does not concern the scope of an arbitration clause itself, but rather, concerns whether a later forum-

13   selection clause “superseded” or modified an earlier arbitration clause, the dispute is one “over the

14   existence, rather than the scope, of the agreement to arbitrate.” Id. Ordinary rules of contract

15   interpretation therefore apply, and “the presumption in favor of arbitrability [does] not apply.” Id.

16           Contracting parties are free to agree to arbitrate some disputes and not others, and they are

17   free to agree that an arbitrator will decide threshold jurisdictional issues. Henry Schein, Inc. v.

18   Archer & White Sales, Inc., 139 S.Ct. 524, 530 (2019). The presumption, however, is that a court,

19   not an arbitrator, can determine its own jurisdiction in any given case. First Options of Chicago, Inc.

20   v. Kaplan, 514 U.S. 938, 943-44 (1995). To rebut this presumption of a court’s authority to decide

21   its own jurisdiction, contracting parties bear a heavy burden of “clearly and unmistakably” providing

22   that an arbitrator will decide their threshold jurisdictional disputes, in addition to their merits

23   disputes. Id. (holding that courts “should not assume that the parties agreed to arbitrate arbitrability

24   [or justiciability] unless there is clear and unmistakable evidence that they did so.”).

25           Applying the above principles, this Court has already correctly decided: (1) that with respect

26   to any controversies regarding the DOGE Sweepstakes, the Official Rules agreements superseded

27   and prevailed over the User Agreements,; and (2) based on the terms of the Official Rules

28   agreements, and on the absence of any reference to arbitration therein, the parties had not “clearly
                                                           9
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 1   and unmistakably” delegated to an arbitrator any threshold jurisdictional controversies regarding the

 2   Sweepstakes. See Order (Dkt. 53) at 1-10. Coinbase previously attempted to argue that the Court

 3   erred in these holdings, but “fail[ed] to show how the Court erred.” Order (Dkt. 76) at 2.

 4          Nothing has changed.

 5                  1.      The Official Rules agreements supersede and prevail over the User
                            Agreements because both Plaintiffs and Coinbase were parties to both
 6                          agreements.
 7          The Court previously relied on Circuit precedent, and on the general rule that where

 8   contracting parties form conflicting agreements over time, covering the same subject matter, the

 9   more recent agreement controls. Id. (citing Goldman, 747 F.3d 733, among other authorities); see

10   also NLRB v. Int'l Union of Operating Eng'rs, 323 F.2d 545, 548 (9th Cir. 1963) (“[S]ince the

11   contracts were entered into by the same parties and cover the same subject matter, it is a well settled

12   principle of law that the later contract supersedes the former contract as to inconsistent provisions”);

13   Tremayne v. Striepeke, 262 Cal.App.2d 107, 114 (Cal. Ct. App. 1968) (explaining that “a later

14   instrument supersedes an earlier one whenever they are inconsistent.”). Coinbase asks the Court to

15   reconsider its prior holdings, based on no new facts or law, and without addressing the case law

16   previously relied upon by the Court.

17          Coinbase now argues that because Defendant Marden-Kane was not a party to both

18   agreements, the latter contract cannot supersede the earlier contract as between Plaintiffs and

19   Coinbase. Motion at 6-7. As an initial matter, all parties and the Court were fully aware of Marden-

20   Kane’s single-contract status throughout this litigation. Cf. Order See, e.g., Order (ECF No. 76) at 2

21   (reasoning that Marden-Kane was never “subject to an arbitration agreement” because it was never a

22   party to Coinbase’s User Agreements). Marden-Kane was always personally named as a party to the

23   Official Rules agreements, and not the User Agreements. See, e.g., Dkt. 22-1, ¶1; Dkt. 33-7; Dkt.

24   33-8. So it is unclear why Coinbase is only raising this purported issue now.

25          In any event, Coinbase’s new argument is decidedly wrong. The mere fact that Marden-Kane

26   may have been a party to the Official Rules agreements, and not the User Agreements, cannot change

27   the material fact that Plaintiffs and Coinbase were parties to two different, conflicting agreements

28   “covering the same subject matter.” Int’l Union, 323 F.2d at 548; accord Order (ECF No. 53) at 9-
                                                       10
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 1   10. Indeed, in both Goldman and Int’l Union, the contracting parties addressed by the Ninth Circuit

 2   were not identical when comparing the conflicting contracts. What mattered was that both litigating

 3   parties had overlapping rights or obligations under two conflicting agreements.

 4          Specifically, in Goldman, the original arbitration agreement at issue was among Goldman and

 5   other members of the National Association of Securities Dealers (“NASD”), which had promulgated

 6   FINRA Rule 12200. Goldman, 747 F.3d at 739, n.1. The City of Reno (“Reno”) was a third-party

 7   beneficiary of the arbitration agreement among Goldman and the NASD members. Id. Meanwhile,

 8   the more recent forum selection agreement was between Reno and Goldman only. Id. at 736-37.

 9   The Ninth Circuit still found that the forum-selection agreement between Reno and Goldman

10   superseded the prior arbitration agreements among Goldman and NASD members, notwithstanding

11   the fact that the contracts involved distinct parties. What mattered was that both litigating parties

12   were parties to (or beneficiaries of) both agreements. Because the two agreements conflicted, the

13   Ninth Circuit was forced to choose which agreement would govern.

14          The same was true in Int’l Union. There, the two contracts at issue were the “AGC contract”

15   and an earlier “National Agreement.” Int’l Union, 323 F.2d at 546. The later AGC contract was

16   formed between a trade “association” and a “Union,” while the National Agreement had been formed

17   between two association members and the “Union’s parent body.” Id. These were not identical sets

18   of contracting parties, yet the Ninth Circuit still found that the later AGC contract superseded the

19   earlier National Agreement. Id. What matter was that the litigating parties were ultimately bound by

20   both agreements.

21          Here, as the Court knows, Plaintiffs and Coinbase each bound themselves to both the User

22   Agreements and the Official Rules agreements. What matters is that both written contracts are

23   enforceable by Plaintiffs and Coinbase, against each other, yet the two writings conflict with each

24   other. Therefore, the most recent agreements between Coinbase and each Plaintiff are controlling.

25   The mere fact that Marden-Kane may have bound itself to the Official Rules agreements, but not to

26   the User Agreements, is not an argument for ordering Plaintiffs and Coinbase into arbitration.

27          Rather, it is an argument for ordering Marden-Kane into litigation.

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 1          The cases Coinbase cites in favor of its new argument are neither controlling nor persuasive.

 2   The decision in Dunn v. FastMed Urgent Care PC , 424 P.3d 436 (Ariz. Ct. App. 2018) was one of

 3   Arizona contract law, which has no applicability here. Id. at 440; see also Official Rules (Dkt. 83-1),

 4   ¶10 (providing that California law governs). Moreover, it was clear in Dunn that the two contracts at

 5   issue did not cover the same subject matter. Id. at 440-42. As for the differences in the contracting

 6   parties, the problem was that not all parties to the earlier agreements had been involved in the later

 7   agreements. Id. The original contracting parties’ rights could not possibly be “superseded” by a

 8   later contract that the original parties never agreed to. By contrast here, Coinbase and Plaintiffs were

 9   all parties to the earlier, User Agreements; thus, they all had the freedom to agree in the future to

10   different terms among themselves and a third party. No party to the earlier User Agreements was left

11   in the dark by the subsequent Official Rules agreements; hence the Official Rules clearly had the

12   ability to supersede the User Agreements.

13          Coinbase’s citation to Spark Connected, LLC v. Semtech Corp., No. 4:18-cv-748-KPJ, 2020

14   WL 6118575, at *5 (E.D. Tex. 2020) is likewise inapposite. By their terms, the contracts at issue in

15   that case did not apply to the same subject matter, and as in Dunn, multiple parties to the earlier

16   agreement were missing-in-action from the later agreement. See generally id. That is why the later

17   agreement could not “supersede” the other; some of the original parties were missing from the later

18   agreement, and the two contracts had substantially nothing to do with each other.

19          There is simply no straight-faced argument for why the Court should reverse its prior, correct

20   holding that Official Rules ¶10 superseded and prevailed over Plaintiffs’ and Coinbase’s original

21   agreements to arbitrate. Both parties to the earlier User Agreements were parties to the later Official

22   Rules agreements, and that is sufficient to create a contractual conflict resulting in supersession. The

23   later formed contract controls the conflict, as the Court correctly held on Coinbase’s prior motion.

24                  2.      Coinbase’s new argument under Mohamed is inapposite.
25          Coinbase makes another, newly formulated argument for why the Court should reverse itself

26   on the arbitration issue, again based on no new law or facts. Coinbase now contends that Mohamed

27   v. Uber Techs., Inc., 848 F.3d 1201 (9th Cir. 2016) precludes the Court from deciding whether it has

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 1   jurisdiction over Plaintiffs’ controversies regarding the Sweepstakes. Motion at 7-9. Coinbase’s

 2   contention is inapposite and erroneous.

 3           In Mohamed, the Ninth Circuit addressed purportedly “clear and unmistakable” delegation

 4   clauses contained within the same contracts as forum selection clauses. Id. at 1207-09. The district

 5   court had decided that the arbitration language and exclusive-jurisdiction language contained in a

 6   single writing were confusing and “inconsistent.” Id. at 1209. The Ninth Circuit acknowledged that

 7   the arbitration language and the exclusive-jurisdiction language within each isolated agreement were

 8   in conflict, if read literally. Id. Nevertheless, the Mohamed court said that those internal conflicts

 9   were “artificial.” Id.

10           It is important to understand why, so as not to bend Mohamed to its breaking point.

11           The reason why the linguistic conflicts in Mohamed were deemed “artificial” contractual

12   conflicts was because those linguistic conflicts were contained within a single written contract,

13   executed at a single point in time. See generally id. Each individual contract simultaneously

14   provided that an arbitrator had jurisdiction, and that a court had jurisdiction. Id. It goes without

15   saying that contracting parties cannot agree to polar-opposite terms and results in a single agreement;

16   they cannot possibly have contractual “Intent X” and contractual “Intent NOT X” at the same point

17   in time, for a single transaction.

18           Because each individual contract at issue in Mohamed contained “clear and unmistakable”

19   delegation language, the Ninth Circuit deemed the conflicting, forum-selection language to be

20   “clearly and unmistakably” intended only for enforcing arbitration awards and resolving non-

21   arbitrable disputes. Id.    Again, it was only because the conflicting clauses were part of the same

22   contract that the Court was forced to reconcile them, and label any linguistic conflicts “artificial.” Id.

23   at 1209; accord Royal Ins. Co. of Liverpool v. Caledonian Ins. Co. of Edinburgh, Scotland, 20

24   Cal.App. 504, 506 (Cal. Ct. App. 1912) (“It is a well recognized rule that every part of a contract

25   must be given some effect if possible, and two apparently conflicting provisions of the same

26   contract must be reconciled if such may be done without doing actual violence to the language of the

27   contract.”). It is impossible for parties to have two, mutually exclusive intentions at the same time,

28   in forming a single agreement. That, however, does not mean that courts must deem “clearly and
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 1   unmistakably” uniform seemingly different intentions that parties might manifest at different times,

 2   in different contracts, evidencing different transactions, involving different sets of parties.

 3          Here, Coinbase and each Appellee “clearly and unmistakably” manifested one intention when

 4   Appellees first created their Coinbase accounts. Then, months or years later, Coinbase, Appellees,

 5   and Marden-Kane all “clearly and unmistakably” manifested a different intention, at a different time:

 6   when they executed their new Sweepstakes “transaction.” 9 U.S.C. § 2. Indeed, the only “contract

 7   evidencing a [Sweepstakes] transaction” here contains no arbitration language whatsoever (id.),

 8   much less “clear and unmistakable” language saying that an arbitrator will resolve any jurisdictional,

 9   interpretative, or other “CONTROVERSIES” regarding the Sweepstakes. See generally Official

10   Rules (Dkt. 22-1).

11          Mohammed did not hold that once a “clear and unmistakable” delegation agreement is formed

12   between two parties, it can never be rendered less than “clear and unmistakable” by any future

13   agreement that precludes arbitration by its own terms. Such an unprecedented rule would contradict

14   Goldman’s holding that a subsequent agreement need not specifically mention “arbitration” to

15   manifest an affirmative intent to litigate. See Goldman, 747 F.3d at 744-46. Nor did Mohamed

16   prohibit contracting parties from “carving out” particular disputes from otherwise “clear and

17   unmistakable” delegation agreements.         In fact, Mohamed itself found a legitimate carve-out

18   contained within one of the contracts at issue there. See Mohamed, 848 F.3d at 1208-09, 1212

19   (respecting a specific, contractual “carve-out” from a generalized delegation agreement).

20          Importantly, a delegation agreement is nothing but “a sub-category of arbitration agreement.”

21   Norris v. AON PLC, No. 21-cv-00932-CRB, 2021 WL 1238303, at *3 (N.D. Cal. Apr. 2, 2021). If

22   the question of whether a later forum-selection agreement “superseded” an earlier arbitration

23   agreement is a question of the existence of an arbitration agreement (Goldman, 747 F.3d at 742-43),

24   then the question of whether a later forum-selection agreement “superseded” an earlier delegation

25   agreement likewise concerns the existence of a delegation agreement.          Hence, the question is not

26   whether the User Agreements’ delegation clauses were “clear and unmistakable” by their own terms,

27   when they were first made. That is the wrong question to ask as a matter of law. Id.

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 1          The correct question is whether Official Rules ¶10 and the User Agreements’ delegation

 2   clauses are “clearly and unmistakably” consistent by their own terms. Manifestly, they are not.

 3   Coinbase’s threshold jurisdictional dispute with Appellees—regarding the proper forum for resolving

 4   Sweepstakes disputes—is at least arguably a “CONTROVERS[Y] REGARDING THE

 5   [Sweepstakes] PROMOTION.” Dkt. 83-1, ¶10. And if it is, then even the parties’ threshold

 6   jurisdictional “CONTROVERSY” here is one over which “THE CALIFORNIA COURTS (STATE

 7   AND FEDERAL)” have “SOLE JURISDICTION.” Id. For this reason alone, Official Rules ¶10

 8   and the parties’ original delegation agreements are not “clearly and unmistakably” consistent with

 9   each other; thus, the parties’ original delegation agreements do not “clearly and unmistakably” exist

10   today, even if they might have: absent any subsequent, conflicting agreement. Accord Goldman, 747

11   F.3d at 742-43; Applied Energetics, 645 F.3d at 524-26.

12          This conclusion is only reinforced by the fact that the Official Rules Agreement contains its

13   own form of “delegation clause.”        Specifically, in the same paragraph that grants “SOLE

14   JURISDICTION” to “THE CALIFORNIA COURTS (STATE AND FEDERAL),” the Official Rules

15   preclude Appellees from invoking “any other jurisdiction”—“by virtue of any other cause”—to

16   decide matters “related to the interpretation, performance and enforcement of these Official Rules.”

17   Id. The phrase “any other cause” at least arguably includes the original, generalized delegation

18   agreements between Coinbase Appellees.

19          Reasonably read, then, Official Rules ¶10 precluded Appellees from invoking any arbitrator’s

20   “jurisdiction” to decide disputes “related to the interpretation, performance [or] enforcement” of the

21   Official Rules themselves. See Goldman, 747 F.3d at 744 (explaining that, “because the presumption

22   in favor of arbitrability does not apply here, the forum selection clauses need only be sufficiently

23   specific to impute to the contacting parties the reasonable expectation that they would litigate any

24   disputes”). For each of the above reasons, it is far from “clear and unmistakable” that the parties

25   here delegated to an arbitrator their threshold jurisdictional “CONTROVERSIES” regarding “the

26   interpretation, performance and enforcement” of Official Rules ¶10. See Granite Rock, 561 U.S. at

27   297 (“reemphasiz[ing]” that “a court may order arbitration of a particular dispute only where the

28   court is satisfied that the parties agreed to arbitrate that dispute”) (emphasis in original); First
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 1   Options, 514 U.S. at 943-44 (holding that courts may not delegate threshold jurisdictional issues to

 2   an arbitrator absent “clear and unmistakable evidence”).

 3          In short, Mohamed did not address contracts that looked anything like the contracts at issue

 4   here; it addressed linguistic conflicts contained within a single writing, executed at a single point in

 5   time between two parties. Similarly, the district court cases cited by Coinbase did not address

 6   multiple contracts that looked anything like the ones at issue here. COB at 18; See Dillon v. BET

 7   Info. Sys., Inc., No. 18-cv-4717-JST, 2019 WL 12338059 (N.D. Cal. Feb. 19, 2019) (addressing

 8   delegation and forum selection clauses contained within one contract); Jacksen v. Chapman

 9   Scottsdale Autoplex, LLC, No. CV-21-00087-PHX-DGC, 2021 WL 3410912, at *3 (D. Ariz. July 21,

10   2021) (addressing delegation and severability clauses contained in one contract); Taylor v. Shutterfly,

11   Inc., No. 18-cv-00266-BLF, 2018 WL 4334770, at *5 (N.D. Cal. Sept. 11, 2018) (same); Einstein

12   Noah Rest. Grp., Inc., No. 19-cv-00771-JSW, 2019 WL 6835717, at *3 & n.1 (N.D. Cal. Oct. 23,

13   2019) (addressing just one contract).

14          Not only are the Official Rules Agreements in this case markedly different (an exclusive-

15   jurisdiction clause, that includes threshold, interpretive disputes regarding the Official Rules

16   themselves) but so too is the factual context in which the contracts at issue were formed. In the

17   decisions cited by Coinbase, there were only two contracting parties involved. See generally id.;

18   Mohamed, 848 F.3d at 1209. By contrast here, there are different contracts involved that were

19   formed by different groups of contracting parties.

20          It may well be true that, even if Coinbase had initially preferred to arbitrate all disputes with

21   Appellees, contractual newcomer Marden-Kane (or Coinbase itself, or both companies) preferred not

22   to arbitrate any “CONTROVERSIES” regarding this particular Sweepstakes. Official Rules, ¶10. It

23   may well be that Coinbase, in drafting the parties’ Official Rules Agreements, deferred to the

24   preferences of its new business partner, Marden-Kane.4 This Court is in no position to find it “clear

25   and unmistakable” that this didn’t happen.

26
     4
27    Of course, only after being hit with a class action, Marden-Kane now purports to prefer arbitration.
     Dkt. 87. But that litigation reality is irrelevant to determining what Marden-Kane’s original intent
28   was at the time when the Official Rules Agreements were formed.
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 1          Whatever might have happened in corporate negotiations between Coinbase and Marden-

 2   Kane, they wrote what they wrote, and they are stuck with it. The contractual dynamics here are

 3   nothing like the ones at issue in the opinions cited by Coinbase, all of which involved just two parties

 4   assenting to a single writing, at a single point in time.      In such cases, there can only be one

 5   contractual intent; here, there could well have been different intentions among different parties at

 6   different points in time.

 7          If Coinbase and Marden-Kane had wanted to “clearly and unmistakably” delegate to an

 8   arbitrator any threshold jurisdictional controversies regarding the Sweepstakes, or any threshold

 9   interpretive disputes regarding the Official Rules, then they could have and would have done so by

10   drafting very different language into their own Official Rules Agreements. See, e.g., Request for

11   Judicial Notice Regarding Another Coinbase Sweepstakes, Ex. C (Dkt. 41-3) at § 11 (Coinbase’s

12   “Official Rules” contract for another “sweepstakes” promotion, providing clearcut arbitration and

13   delegation provisions in English); see also Order (Dkt. 53) at 1 (granting Request for Judicial

14   Notice).    Coinbase’s post-lawsuit sweepstakes contracts are what “clear and unmistakable”

15   agreements to arbitrate look like. Nothing in the parties’ contracts here “clearly and unmistakably”

16   provides that an arbitrator will resolve the parties’ jurisdictional “CONTROVERSIES REGARDING

17   THE PROMOTION.” Official Rules (Dkt. 22-1), ¶10.              Nothing in the parties’ Official Rules

18   agreement “clearly and unmistakably” provides that an arbitrator can decide the parties’ disputes

19   over “the interpretation, performance and enforcement of th[e] Official Rules.” Id.

20          This Court correctly applied the most applicable precedent, rather than extending Mohamed

21   to the exclusion of Goldman, of Int’l Union, and of long-settled principles of contract law.      Order

22   (Dkt. 53) at 8 (holding that “the dispute over how to address the interaction between two separate

23   contracts is not clearly and unmistakably delegated”); Ingram Micro Inc. v. Signeo Int’l, Ltd., 2014

24   WL 3721197, at *3 (C.D. Cal. July 22, 2014) (holding that “clear and unmistakable evidence of

25   intent to arbitrate arbitrability does not exist where an arbitration provision has been excluded from

26   superseding agreements”). Nothing in Mohamed abrogates these holdings, as Mohamed did not

27   address “superseding agreements” or “separate contracts.” Id.

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                    3.     Coinbase’s historical integration and modification clauses did not
 1                         preclude the formation of other, future contracts.
 2          Coinbase argues that its Official Rules contracts are unenforceable because its prior User

 3   Agreements contained standard “integration” and “modification” clauses.            Motion at 9-10.

 4   Integration clauses, however, do not preclude separate, written contracts from being formed by

 5   parties in the future. See, e.g., In re Ins. Installment Fee Cases, 211 Cal.App.4th 1395, 1413-14

 6   (2012) (holding that an integration clause “does not relate to future agreements and does not bar

 7   extrinsic evidence that proves that the parties subsequently modified their integrated writing”)

 8   (original emphasis). Integration clauses merely preclude the parties’ contemporaneous (or earlier)

 9   agreements from being used as evidence of the parties’ then-existing terms. Id. That is the function

10   that Coinbase’s integration clauses served here. See, e.g., Dkt. 33-8 at 29, ¶9.4 (providing that the

11   User Agreement “supersedes any and all prior discussions, agreements and understandings of any

12   kind”). Because Plaintiffs and Coinbase admittedly formed their Official Rules agreements after

13   their User Agreements, the User Agreements’ integration clauses mean nothing relevant here.

14          The same goes for the User Agreements’ “modification” clauses. California law is clear that

15   any “contract in writing may be modified by a contract in writing.” Cal. Civ. Code § 1698. This rule

16   “has no application” in situations where “a modification is in accordance with a provision

17   authorizing and setting forth a method for [the original contract’s] revision.” Jones v. Citigroup,

18   Inc., 135 Cal.App.4th 1491, 1496 (2006); Mandel v. Household Bank, 105 Cal.App.4th 75, 82 (2003)

19   (same). In such situations, “there is no alteration” at all, since the purported “modification is in

20   accordance with the terms of the [original] contract.” Id.

21          The rule of Cal. Civ. Code § 1698 applies only where, as here, the subsequent “contract in

22   writing” was not made “in accordance with” the earlier contract’s “provision authorizing and setting

23   forth a method for its revision.” Id.; Cal. Civ. Code § 1698.     Indeed, “[u]nder California law, a

24   written agreement may be modified by the parties’ conduct, even if the written agreement includes a

25   clause expressly prohibiting modification.” Alvarado Orthopedic Research, L.P. v. Linvatec Corp.,

26   No. 11-CV-246-IEG (RBB), 2013 WL 2351814, at *7 (S.D. Cal. May 24, 2013). Clearly, nothing

27   about the User Agreements’ standard “amendment” or “modification” clauses precluded Plaintiffs or

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                                                       18
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 1   Coinbase from forming additional or different agreements, apart from the User Agreements, in the

 2   future. That is all that the parties did here. See generally Order (Dkt. 53) at 1-10.

 3          At bottom, there is no lawful reason for this Court to reverse its prior, correct decisions that

 4   the Official Rules agreements superseded, modified, and prevailed over the User Agreements.

 5   Therefore, Coinbase’s latest Motion to compel arbitration must be denied, for lack of any extant

 6   agreement to arbitrate “CONTROVERSIES REGARDING” the Sweepstakes. Dkt. 83-1, ¶10.

 7                  4.      In the alternative, Coinbase’s arbitration and delegation provisions were
                            always unconscionable and unenforceable.
 8
            Even if the Court somehow reverses its own prior decision that the Official Rules agreements
 9
     supersede the User Agreements (Dkt. 53), the Court should still decline to compel arbitration.
10
     Recently, in Bielski v. Coinbase, Inc., No. C 21-07478, 2022 WL 1062049 (N.D. Cal. Apr. 8, 2022),
11
     Judge Alsup held that the arbitration and delegation provisions in Coinbase’s User Agreements—the
12
     same ones at issue here—are unconscionable as a matter of law. See generally id.                Plaintiffs
13
     respectfully incorporate Judge Alsup’s reasoned analysis by reference, as if fully set forth herein. Id.
14
            Coinbase cites Berk v. Coinbase, Inc., 840 F. App’x 914 (9th Cir. 2020) for the proposition
15
     that “[t]he User Agreement is not unconscionable” (Motion at 11), but Berk expressly did not
16
     consider whether the User Agreements were unconscionable. See id. at 915 (“The only question
17
     before us is whether the arbitration clause in the User Agreement encompasses the plaintiffs’
18
     claims.”). Coinbase also cites inapposite, out-of-District decisions for the proposition that its User
19
     Agreements are enforceable. Motion at 11. Yet Coinbase offers no reason for why the Court should
20
     follow inapposite, out-of-District decisions to the exclusion of an on-point decision in this District.
21
            Coinbase’s arbitration and delegation agreements were indeed unconscionable when made.
22
            B. As Coinbase previously conceded, the Official Rules’ class action waiver is
23             unconscionable under California law.
24          In its prior motion to compel arbitration or dismiss, Coinbase conceded that absent an

25   agreement to arbitrate Plaintiffs’ claims, the Official Rules’ standalone, class-action litigation waiver

26   was unconscionable under California law. See Dkt. 40 at n.7; Dkt. 43 (no rebuttal). Coinbase has

27   now changed its mind. It argues for the first time that the Court must enforce the Official Rules’

28   class-litigation waiver, absent any agreement to arbitrate Plaintiffs’ claims. See Motion at 11-15.
                                                        19
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 1          Both Defendants have made similar arguments that the Official Rules’ class-litigation waiver

 2   is enforceable. See id.; Marden-Kane’s Motion (Dkt. 87) at 7-9. Plaintiffs have thoroughly argued—

 3   in their Opposition to Marden-Kane’s Motion—that the Official Rules’ class-litigation waiver is

 4   unconscionable and unenforceable, pursuant to un-preempted State law. Plaintiffs respectfully ask

 5   that the Court apply Plaintiffs’ full Opposition argument in this regard equally to both Motions.

 6          C. Coinbase’s new arguments for dismissing Plaintiffs’ CLRA claims are procedurally
               and substantively flawed.
 7
                    1.      Coinbase’s new Motion to dismiss Plaintiffs’ CLRA claims must be
 8                          denied as procedurally improper because it violates Rule 12(g)(2).
 9          “A fundamental tenet of the Federal Rules of Civil Procedure is that certain defenses under

10   Fed. R. Civ. P. 12 must be raised at the first available opportunity or, if they are not, they are forever

11   waived.” American Ass'n Naturopathic Phys. v. Hayhurst, 227 F.3d 1104, 1107 (9th Cir. 2000)

12   (citing Fed. R. Civ. P. 12(g)). With certain exceptions inapplicable here, “a party that makes a

13   motion under [Rule 12] must not make another motion under this rule raising a defense or objection

14   that was available to the party but omitted from its earlier motion.” Fed. R. Civ. P. 12(g)(2). “The

15   policy behind Rule 12(g) is to prevent piecemeal litigation in which a defendant moves to dismiss on

16   one ground, loses, then files a second motion [to dismiss] on another ground.” Ennenga v. Starns,

17   677 F.3d 766, 772-73 (7th Cir. 2012) (citing Pilgrim Badge & Label Corp. v. Barrios, 857 F.2d 1, 3

18   (1st Cir. 1988)).

19          Here, Coinbase previously filed a Rule 12(b)(6) motion to dismiss Plaintiffs CLRA claims,

20   arguing only that its Sweepstakes ads were not false or misleading, and that its Sweepstakes was not

21   a lottery. See generally Dkt. 33; Dkt. 43. Now, under Rule 12(b)(6), Coinbase “rais[es]” another

22   “defense” to Plaintiffs’ CLRA claims that it could have raised previously. Coinbase argues that its

23   alleged conduct was never within the scope of the CLRA, which applies only to transactions in

24   “goods” or “services.” Motion at 17-18. Coinbase now contends, for the first time, that Plaintiffs’

25   Dogecoin purchases were not purchases of “goods” or “services.” Id. That “defense” was fully

26   “available” for Coinbase to “raise” when it filed its first motion to dismiss, and yet the defense was

27   “omitted from its earlier motion.” Fed. R. Civ. P. 12(g)(2). Thus, Coinbase’s latest Motion to

28   dismiss Plaintiffs’ CLRA claims is barred by Rule 12(g)(2).
                                                        20
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 1          Certainly, nothing about Plaintiffs’ filing of the TAC permitted Coinbase to assert brand new

 2   Rule 12(b)(6) defenses, which were available to be asserted against the FAC or the SAC. See, e.g.,

 3   Sourovelis v. City of Phila., 246 F. Supp. 3d 1058, 1077 (E.D. Pa. 2017) (“[F]iling an amended

 4   complaint does not affect Rule 12(g)’s prohibition against successive motions to dismiss.”); Jaddo v.

 5   Town & City of Stamford, 3:21-cv-350 (OAW), 2022 WL 2168077, at *3 (D. Conn. June 16, 2022)

 6   (“Moreover, the filing of an amended complaint has no bearing on a motion subject to Rule 12(g)’s

 7   consolidation principle.”); 5C Charles Wright & Arthur Miller, Federal Practice and Procedure §

 8   1388 (“The filing of an amended complaint will not revive the right to present by motion defenses

 9   that were available but were not asserted in timely fashion prior to the amendment of the pleading.”).

10          Nor does Coinbase’s citation to two (inapposite) cases decided this year render Coinbase’s

11   latest defense unavailable to Coinbase at the time when it filed its motion to dismiss last year.

12   Motion at 18 (citing Jeong v. Nexo Fin. LLC, No. 21-CV-02392- BLF, 2022 WL 174236 (N.D. Cal.

13   Jan. 19, 2022)). Jeong announced no new legal “defense” under the CLRA; it applied preexisting

14   CLRA law to a financial loan transaction, and financial loan transactions have long been outside the

15   CLRA’s scope. See generally id. Jeong made no change in the law that created a new Rule 12(b)(6)

16   “defense” within the meaning of Rule 12(g)(2).

17          The same goes for Reeves v. Niantic, Inc., 21-cv-05883-VC, 2022 WL 1769119, at *2 (N.D.

18   Cal. May 31, 2022). Reeves simply “agree[d] with” older CLRA decisions that were published years

19   before Coinbase ever moved to dismiss. Id. at *2 (citing older cases). It is a rare thing for any

20   judicial decision to create a new “defense” under Rule 12(b)(6). And clearly, neither Jeong nor

21   Reeves created such a new defense against CLRA claims.

22          If Coinbase wanted to raise the (erroneous) defense that it did not sell Plaintiffs any “goods or

23   services” under the CLRA, it could have raised that argument in 2021. The Court should deny as

24   procedurally improper Coinbase’s second, Rule 12(b)(6) Motion to dismiss Plaintiffs’ CLRA claims.

25                  2.     Coinbase’s new anti-CLRA arguments are also substantively erroneous.
26          Both Defendants have made similar arguments that Plaintiffs’ cryptocurrency purchases are

27   outside the CLRA’s scope, saying that cryptocurrencies are not themselves “goods or services.” See

28   Motion at 17-18; Marden-Kane’s Motion at 13, n.10. Plaintiffs have thoroughly addressed this
                                                       21
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 1   argument in their Brief in Opposition to Marden-Kane’s Motion, and respectfully request that the

 2   Court apply their responsive opposition argument similarly to both Motions here.

 3          D. The June 2021 DOGE Sweepstakes was a lottery because Defendants affirmatively
               and objectively represented only that consideration was necessary to enter.
 4
            “A lottery is any scheme for the disposal or distribution of property by chance, among
 5
     persons who have paid or promised to pay any valuable consideration for the chance of obtaining
 6
     such property or a portion of it, . . . whether called a lottery, raffle, or gift enterprise, or by whatever
 7
     name the same may be known.” Cal. Penal Code § 319. It is unlawful for any person to “contrive[],
 8
     prepare[], set[] up, propose[], or draw[] any lottery.” Cal. Penal Code § 320. The elements of a
 9
     lottery are: (1) consideration given by entrants; (2) in exchange for a chance; (3) to win a prize.
10
     Trinkle v. California State Lottery, 105 Cal.App.4th 1401, 1406 (Cal. Ct. App. 2003).                 Here,
11
     Defendants do not dispute the chance or prize elements; they argue only that their Dogecoin
12
     Sweepstakes lacked the “consideration” element of a lottery.
13
            Under California law, “in order for a promotional giveaway scheme to be legal[,] any and all
14
     persons must be given a [chance to win] free of charge[,] and without any of them paying for the
15
     opportunity of a chance to win the prize.”         People v. Shira, 62 Cal.App.3d 442, 459 (1976).
16
     “Conversely, a promotional scheme is illegal where any and all persons cannot participate in a
17
     chance for the prize and some of the participants who want a chance to win must pay for it.”). Id.
18
     Critically, the “question of consideration is not to be viewed from the standpoint of the defendant,
19
     but from that of the [entrants].” Cal. Gas. Retailers v. Regal Petroleum Corp., 50 Cal.2d 844, 860
20
     (1958) (holding that the “question of consideration is not to be viewed from the standpoint of the
21
     defendant, but from that of the [entrants]”) (citing People v. Cardas, 137 Cal.App.Supp. 788 (1933)).
22
     In other words, an objective inquiry must be made from the perspective of a reasonable entrant, not a
23
     reasonable operator, to determine whether a payment of “consideration” was necessary for “some”
24
     entrants to obtain a chance to win. Id.; Shira, 62 Cal.App.3d at 459.
25
            Here, Plaintiffs’ counsel originally misread the Official Rules agreement, and pleaded
26
     (wrongly) in the FAC and SAC that the Official Rules evinced a free-entry option for Plaintiffs. Dkt.
27
     22; Dkt. 36. However, during the Court’s January 10, 2022 Hearing on Coinbase’s first motion to
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                                                         22
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 1   dismiss, Plaintiffs’ counsel admitted his error, and asserted that the best, objective reading of the

 2   Official Rules was that the free-entry method (“Method 2”) was available only to entrants who were

 3   not Coinbase “account holders.” See January 10, 2022 Hearing Transcript (Dkt. 62) at 25:8 – 27:4.

 4   Upon reviewing Official Rules ¶3, and speaking on the spot, the Court agreed that Defendants’

 5   Official entry Rules could be objectively read to require Coinbase “account holders” to pay for entry.

 6            [THE COURT:] I’m looking at the [Official Rules] in front of me. It makes it look
              like if you are an existing accountholder or a new accountholder, you have to
 7            complete the $100 transaction. If you’re not an existing account holder or a new
              accountholder, you can enter for free. That’s what Mr. Harris’ argument is, which he
 8            wants to have leave to amend so he can make the argument. In other words, it’s not
              only misleading; it could be objectively read to mean that if you actually currently are
 9            a Coinbase accountholder, you must have this $100 transaction. Everybody else can
              just mail in this little card.
10                                                  ***
11            I have to say it is confusing; I mean, if I were entering this contest, I would be
              confused by this.
12
     See Dkt. 62 at 27:15 - 28:9; see also Official Rules (Dkt. 83-1) at 3-5, ¶3.
13
              Indeed, reading free-entry “Method 2” as being available to Coinbase “account holders” like
14
     Plaintiffs would render the first sentence of “Method 1” false. Objectively, the only way to reconcile
15
     the plain terms of free-entry “Method 2” and paid-entry “Method 1” was to interpret free-entry
16
     “Method 2” as being available only to individuals who were not Coinbase “account holders.”
17
     Accord id.; Goldman, 747 F.3d at 754 (explaining that “if contract clauses appear to be repugnant to
18
     each other, the court should interpret the contract in a way which reconciles all its provisions, if
19
     possible.”). The only way to “reconcile” the provisions of “Method 2” with the first sentence of
20
     “Method 1” is to objectively read “Method 2” as available only to non-“account holders” seeking
21
     entry.
22
              Such a reasonable, objective interpretation of Official Rules ¶3 is only bolstered by the
23
     Sweepstakes solicitations’ affirmative statement to Coinbase users that: “Remember, you’ll still need
24
     to buy or sell $100 in Dogecoin on Coinbase by 6/10/2021 for a chance to win.” TAC, ¶11. Such a
25
     conclusion is even further reinforced by the fact that, as detailed in the TAC, numerous media outlets
26
     objectively publicized that trading DOGE was necessary for Coinbase users to obtain a chance to
27
     win. See TAC, ¶¶60-66. Several media outlets did so, while linking their articles directly to the
28
                                                        23
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 1   Official Rules, lending further credence to the notion that Defendants’ Official entry Rules

 2   objectively required payment for entry with respect to Coinbase users. Id.

 3          In sum, viewing the Dogecoin Sweepstakes ads and Official Rules objectively, from entrants’

 4   perspectives, Coinbase “account holders” who “want[ed] a chance to win [were required] to pay for

 5   it” by trading DOGE on Coinbase, and paying all associated transactions costs.               Shira, 62

 6   Cal.App.3d at 459; Official Rules, ¶3. The mere fact that Plaintiffs received some Dogecoins, in

 7   addition to their chances to win prizes, does not negate the element of consideration in Defendants’

 8   Dogecoin Lottery. See Holmes v. Saunders, 114 Cal.App.2d 389, 390 (1952) (“It is sufficient that

 9   the consideration, as here, be paid for something else and the chance to win the prize.”).

10          Defendants counter-allege that, in fact, they would have allowed, and did allow, Coinbase

11   “account holders” to enter for free: contrary to the best, objective reading of their own Sweepstakes

12   solicitations and “Official Rules.” Motion at 15 (counter-alleging that “[t]he Dogecoin Sweepstakes

13   [in fact] had a free alternative method of entry that any consumer could use to enter the contest

14   without having to [trade] Dogecoin”); see also Marden-Kane’s Motion (Dkt. 87) at 10 (counter-

15   alleging “the dispositive fact that there was a free, alternative method that [Coinbase account holder]

16   participants could (and did) use to enter the Dogecoin Sweepstakes”). The flaw in that argument is

17   that it rests entirely on Defendants’ subjective knowledge, as the Dogecoin Lottery operators.

18          Just as an entrant’s subjective ignorance of a free entry-method is insufficient to prove a

19   lottery (accord Order (Dkt. 53) at 12-13), so an operator’s subjective knowledge of a free entry-

20   method is insufficient to disprove a lottery.     Neither an entrant’s nor an operator’s subjective

21   knowledge, standing alone, governs the lottery element of consideration. Instead, the question is

22   whether, from the objective perspective of a reasonable entrant (Regal Petroleum, 50 Cal.2d at 860),

23   consideration was required for some entrants to obtain their chances. Shira, 62 Cal.App.3d at 459.

24          Here, the best, objective interpretation of Defendants’ Sweepstakes solicitations and

25   “Official” Rules was that trading DOGE was necessary for Coinbase “account holders” to enter.

26   TAC, ¶¶10-11 (“Remember, you’ll still need to buy or sell $100 in Dogecoin on Coinbase by

27   6/10/2021 for a chance to win.”); accord Official Rules, ¶3 (“Existing account holders and new*

28   account holders must opt-in to participate in the Sweepstakes and must complete $100usd
                                                       24
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 1   (cumulative the transaction fee)) in trade (buy/sell) of Dogecoin on Coinbase.com (.com and/or

 2   Coinbase app) during the Promotion Period to earn one (1) entry into the Sweepstakes.”).

 3          The mere fact that Defendants might have subjectively harbored a free entry-method for

 4   Coinbase “account holders”)—while objectively telling “account holders” only that they must pay to

 5   enter—did not somehow transform the “consideration” Plaintiffs paid into a free gift of patronage

 6   from the Plaintiffs to Coinbase. Rather, Plaintiffs paid for their “Sweepstakes” entries because,

 7   objectively, Defendants affirmatively told Plaintiffs that this was their only option for entry.

 8          This case may be an unprecedented case under California’s lottery statutes, but it is not a

 9   close case. Defendants objectively offered Coinbase “account holders”—in writing—the chance to

10   win prizes, but only if they would opt in and trade DOGE to enter. Official Rules, ¶3; TAC, ¶11.

11   Plaintiffs, being Coinbase “account holders,” all accepted Defendants’ written offer by paying to

12   enter, as expressly required by Defendants’ own written Rules and solicitations.            This clearly

13   constituted an unlawful, cryptocurrency lottery under California Penal Code §§ 319 and 320.

14                  “When you see these sort[s] of practices done by both scammers and
15                  legitimate entities, it makes it really hard to distinguish between the
                    two of them.” -Benjamin Powers, Coindesk.com (June 4, 2021)
16   TAC (Dkt. 83) at 1.
17   V.     CONCLUSION
18          At bottom, a written offer was made by Defendants, objectively contingent upon payment,
19   and Plaintiffs accepted and performed Defendants’ offer, exactly as written. No more is required, or
20   could possibly be required, to allege “consideration” as a matter of California lottery law.
21          Coinbase violated multiple, independent laws in conducting the June 2021 Dogecoin Lottery,
22   and the company’s latest attempt to evade responsibility lacks legal support.
23          Therefore, for each of the reasons explained herein, and in Plaintiffs’ contemporaneously
24   filed Opposition to Marden-Kane’s Motion to compel arbitration or dismiss, Plaintiffs respectfully
25   request that the Court deny Coinbase’s latest Motion to compel arbitration or to dismiss Plaintiffs’
26   claims under Rule 12(b)(6).
27
28
                                                        25
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 1   Dated: July 9, 2022                        Respectfully submitted,

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